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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
UNITED STATES OF AMERICA,

                                                                         15-cr-379 (PKC)

                 -against-
                                                                            ORDER

JUAN ORLANDO HERNANDEZ and JUAN
CARLOS BONILLA VALLADARES,

                                  Defendants.
------------------------------------------------------------x


CASTEL, U.S.D.J.


                The motion for reconsideration of the Order of June 20, 2023, (ECF 570), is

granted in part and denied in part.

                Cleared counsel does not offer a proposed adjourned date for the written

submission that was due by May 26, 2023, which deadline was missed. Nor does counsel

propose dates for an adjourned hearing. The classified hearing was set on a prophylactic basis in

case a need arose for a discussion of some issue. A CIPA hearing may be conducted on an ex

parte basis with the only the government and the Court present. United States v. Muhanad

Mahmoud Al-Farekh, 956 F.3d 99, 107 (2d Cir. 2020).

                The Court will proceed with the hearing as scheduled. The Court will consider

any submission by cleared counsel for defendant Juan Orlando Hernandez provided that it is

filed with the Classified Information Security Officer by July 11, 2023, and addresses both

tranches of the government’s substitutions. (See Order of March 15, 2023, ECF 536.)
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            The Court reserves the right to conduct a further hearing if it deems it appropriate.

            SO ORDERED.




Dated: New York, New York
       June 21, 2023
